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     Attorneys for Defendant
 9   JAMES ASHFORD WHITE
10
11                               UNITED STATES DISTRICT COURT
12                               EASTERN DISTRICT OF CALIFORNIA
13                                               –ooo–
14    UNITED STATES OF AMERICA,                     CR. S-07-570-FCD
15                  Plaintiff,
16    vs.                                           STIPULATION AND ORDER TO
17                                                  CONTINUE DATE OF SENTENCING
                                                    __________________________________
18    JAMES ASHFORD WHITE,

19                  Defendant.
                                             /
20
21          IT IS HEREBY STIPULATED by and between Randy Sue Pollock and Michael

22   Stepanian, counsel for defendant James Ashford White, and Assistant United States Attorney

23   Heiko Coppola that the sentencing presently set for November 15, 2010 be continued to

24   Monday, December 6, 2010 at 10:00 a.m. This continuance is at the request of defense

25   counsel based on unavailability.

26   ///

27   ///

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               Case 2:07-cr-00570-KJM Document 230 Filed 11/12/10 Page 2 of 2


 1           U.S. Probation Officer Julie Fowler has no objection to this continuance.
 2
 3   Date: November 11, 2010                              /S/ RANDY SUE POLLOCK
                                                        Randy Sue Pollock
 4                                                      Michael Stepanian
                                                        Counsel for Defendant
 5                                                      JAMES ASHFORD WHITE
 6
 7   Date: November 11, 2010                              /S/ HEIKO COPPOLA
                                                        Heiko Coppola
 8                                                      Assistant United States Attorney
 9
10           IT IS SO ORDERED.
11
     Date: November12, 2010
12                                                _______________________________________
                                                  FRANK C. DAMRELL, JR.
13                                                UNITED STATES DISTRICT JUDGE
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     Stipulation to Continue Date of Sentencing     2
